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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                )
                                         )
             vs.                         )         No. 3:08-CR-108(2)
                                         )
 NATHAN GREEN                            )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on November 25, 2008 [Doc. No. 82].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Nathan Green’s plea of guilty, and FINDS the defendant

 guilty of Counts 1 and 8 of the Indictment, in violation of 18 U.S.C. §§ 2 and 371

 and 18 U.S.C. §§ 2 and 1028A.

       SO ORDERED.

       ENTERED:      December 16, 2008




                                          /s/ Robert L. Miller, Jr.
                                      Chief Judge
                                      United States District Court
